        Case 2:19-cv-00092-MHT-GMB Document 1 Filed 01/29/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT FOR mg,
                                MIDDLE DISTRICT OF ALABAMA      '
                                                     DIVISION
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     Pl. tiff(s),
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1.          P aintiff(s):oddroq  teleptuglie nuMbet:           (7 C6                  -e
                         D;41,S.                                 racRi                     36/6r
                  5q 7•7
2.      Name and addre of defendant(s):
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3. „Place of alle ed violation of civil rights:          vi _        t 1 ‘ cirh‹.._ 0-9r
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4.          Date of alleged violation of civil rights:      --- ic( 7— 1)— Ir
5.     State the facts on wihich ou base your aBegation that your c9nstitutionatights have been
       violated: (5(1          -Hi       -7-        717 Wear
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Date

                                          Plaintiff(s) Signature




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